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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 WALTER C. SMITH, III,
 CORA WILLIAMS, and
 JOHN CROCKRAN,

        Defendants.                                              Case No. 06-cr-30070-DRH

                                              ORDER

 HERNDON, District Judge:

                By way of Superceding Indictment (Doc. 29) both Williams and

 Crockran became party defendants in this case, on September 27, 2006. Now before

 the Court are two separate Motions requesting a continuance of the trial date, filed

 by defendant Williams (Doc. 65) and defendant Crockran (Doc. 66). Trial for these

 two Defendants is currently scheduled for Monday, November 27, 2006.1 Defendant

 Smith is currently scheduled for trial on January 8, 2007.

                In her Motion (Doc. 65), defendant Williams states that she has only just

 recently been able to meet with her attorney, as he was appointed on October 3, 3006

 and they first met on October 6, 2006. Therefore, more time is requested so that


        1
          The trial date was different than the trial date for defendant Smith, as compliance with
 the Speedy Trial Act was necessary for defendants Williams and Crockran; defendant Smith had
 previously continued his trial date, excluding time under the Speedy Trial Act. See Doc. 26 -
 September 27, 2006 Order granting continuance in order for the parties to prepare for trial in light
 of Superceding Indictment.

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 defendant Williams may properly review discovery materials and otherwise prepare

 her defense. Her Motion also states that the Government does not oppose such a

 continuance. Defendant Crockran, in his Motion (Doc. 66), indicates that he intends

 to enter into a plea agreement with the Government, but that additional time is

 necessary for the parties to work out the specific details of the agreement. He also

 states that the Government does not oppose such a continuance.

              In light of the fact that defendant Williams was recently appointed

 counsel, it is in the interests of justice to allow her counsel reasonable time for

 effective preparation – to deny this would result in a miscarriage of justice, as it is

 not contested her counsel has acted with anything other than due diligence in

 preparing for trial since the time of his appointment to this matter. Therefore, a

 continuance is necessary. Additionally, defendant Crockran has indicated he wishes

 to plead to the charges in this case – which, if possible, every criminal defendant

 should have a right to elect this option. If the Court were to deny a continuance in

 the light of the ongoing plea negotiations, this could severely impact the outcome of

 these discussions which would be a manifest miscarriage of justice. Therefore, the

 Court finds that a continuance is necessary.

              In consideration of these factors above, the Court finds that a

 continuance of trial in respect to both defendant Williams and defendant Crockran

 is necessary in order to avoid a miscarriage of justice. Therefore, the Court being

 fully advised in the premises also finds, pursuant to 18 U.S.C. § 3161(h)(8)(A), that

 the ends of justice served by the granting of such continuance outweighs the best

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 interests of the public and Defendants in a speedy trial. Therefore, the Court

 GRANTS both defendant Williams Motion to Continue (Doc. 65) and defendant

 Crockran’s Motion to Continue (Doc. 66). The Court CONTINUES the jury trial

 scheduled for Monday, November 27, 2006 to Monday, January 8, 2007 at 9:00

 a.m. Now, all three Defendants in this case will be tried on the same date. The time

 from the date defendant Williams’s original Motion (Doc. 65) was filed, November 16,

 2006, until the date to which the trial is rescheduled, January 8, 2007, is excludable

 time for the purposes of speedy trial.

              IT IS SO ORDERED.

              Signed this 27th day of November, 2006.

                                                       /s/        David RHerndon
                                                      United States District Judge




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